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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION                                                          ENTERED
                                                                                                             12/19/2018
In re:                                                  §
                                                        §
HOUTEX BUILDERS, LLC et al.,1                           §            Case No. 18-34658
                                                        §
                                   DEBTORS.             §            (Chapter 11)
                                                        §

         ORDER AUTHORIZING EMPLOYMENT OF SCHMUCK, SMITH, TEES &
               COMPANY, P.C. AS ACCOUNTANT TO THE DEBTORS
                    NUNC PRO TUNC TO AUGUST 23, 2018

         The Court, having considered the Application of Houtex Builders, LLC; 2203 Looscan Lane,

LLC; and 415 Shadywood, LLC (collectively, the “Debtors”) for authority to employ Schmuck,

Smith, Tees & Company, P.C. as their accountant (the “Application”), finds that notice of the

Application was appropriate and in accordance with the United States Bankruptcy Code and the

Federal Rules of Bankruptcy Procedure, and that based on the law and facts set forth in the

Application, the evidence presented, and the record in this case, the Court finds that the relief

requested in the Application is in the best interests of the Debtors, their estates, and their creditors

and therefore should be GRANTED, accordingly, it is hereby:

         ORDERED that the Debtors are authorized to employ Schmuck, Smith, Tees & Company,

P.C. as their accountant nunc pro tunc to August 23, 2018, and it is further

         ORDRERED that any and all compensation to Schmuck, Smith, Tees & Company, P.C.

shall be subject to approval by this Court under 11 U.S.C. § 330.

SIGNED on __________________________.

                       December
                        November19, 2018
                                01, 2018
                                                             United States Bankruptcy Judge


1
  The names of the Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: HOUTEX Builders, LLC (2111); 2203 Looscan Lane, LLC (1418); and 415 Shadywood, LLC
(7627).


ORDER ON APPLICATION TO EMPLOY SST                                                               PAGE 1 OF 1
